                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      CASE NO. 3:13-00090-6
                                                   )      JUDGE SHARP
MARCO TULIO POLANCO-ALVARADO                       )
                                                   )

                                          ORDER

       Due to a calendar conflict, the sentencing hearing scheduled for November 8, 2013, is

hereby rescheduled for Monday, November 18, 2013, at 1:30 p.m.

       It is so ORDERED.


                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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